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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

DENNIS STEWART AND                             §
TERENCE RICHARDSON                             §
              Plaintiffs,                      §
                                               §
vs.                                            §     CIVIL ACTION NO. __________
                                               §
WALMART INC., WAL-MART                         §                  JURY DEMANDED
STORES TEXAS, LLC, AND                         §
JANE/JOHN DOE EMPLOYEES                        §
                                               §
                      Defendants.              §


      PLAINTIFFS’ ORIGINAL COMPLAINT AND REQUEST FOR JURY TRIAL


TO THE HONORABLE JUDGE OF SAID COURT:

       Plaintiffs Dennis Stewart (hereinafter “Dennis”) and Terence Richardson (hereinafter

“Terence”) file this Original Complaint and Request for Jury Trial for the following reasons:

                                                I.

                               BRIEF STATEMENT OF CASE

       1.1     Plaintiffs are both Black men. Dennis is a 55-year-old former police officer for

Montgomery County, Texas and currently serves as a road foreman for Montgomery County. He

is also a deacon in his church and has never been arrested or charged with any crime prior to the

events addressed in this case. Terence is a 53-year-old pastor and leader of a church located in

Montgomery County, Texas. He is a family man who is known for his selfless work in the

community. These men have been lifelong friends.




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       1.2     Dennis and Terence occasionally shopped at a Walmart store, No. 400, located at

1407 North Loop 336 W in Conroe, Texas, 77304 (hereinafter “Walmart”). On September 10,

2020, after Dennis had paid $300.94 for a 58-inch Hisense television, both Plaintiffs attempted to

return the television later that day after the television did not work properly. With his Walmart

receipt in hand 1—proving he had paid for the television—Dennis, with the help of his friend

Terence to help carry the large television, attempted to return the television to the Walmart from

which it had been purchased just hours earlier. A white Walmart employee working at the

Customer Service counter accused Dennis of stealing the television, refused to accept the

television in return or exchange, and called the police claiming Dennis and Terence had stolen the

television. The police showed up, detained, and handcuffed both Dennis and Terence in front of

the store where other store customers looked on as they entered and exited the store. The indignity

to Plaintiffs did not stop there, they were next paraded in front of the store, taken and held in the

Loss Prevention Office where they pled and asked for the Loss Prevention Officer (“LPO”) to look

at the Walmart receipt which proved the television had been purchased. Despite the fact there was

no evidence of theft, and the police ultimately released Plaintiffs for lack of any evidence of a theft

having occurred, the Walmart store executives/managers made Dennis and Terence sign a paper

requiring them never to return to the store or they would be arrested, and the store still refused to

honor the agreement to accept the returned television. Now, Walmart has created a false record



1 A copy of the Walmart receipt, dated September 10, 2020, is attached as Exhibit 1, along with
a picture of the matching serial and item numbers located on the box in which the purchased
television was contained. See Exhibit 2. All attached exhibits are incorporated herein by
reference unless otherwise stated.



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implying Plaintiffs are thieves and unwelcomed customers.

       1.3     Plaintiffs sue Walmart and the Jane/John Doe Walmart employees for violations of

42 USC § 1981 because they impaired Dennis purchase contract which included a right to return

defective merchandise, for racial discrimination, false arrest and imprisonment, breach of contract

and warranty, intentional infliction of emotional distress, negligence and negligence per se.2

       1.4     Plaintiffs ask for a jury trial.

                                                    II.

                                                  PARTIES

       2.1     Plaintiff Dennis Stewart is a Texas resident.

       2.2     Plaintiff Terence Richardson is a Texas resident.

       2.3     Defendant Walmart Inc. is a Delaware corporation authorized to do business in the

state of Texas. It may be served with process by and through its registered agent in Texas, CT

Corporation System, 1999 Bryan St., Suite 900, Dallas, Texas 75201.

       2.4     Defendant Wal-Mart Stores Texas, LLC is a Delaware limited liability company

authorized to do business in the state of Texas. It may be served with process by and through its

registered agent in Texas, CT Corporation System, 1999 Bryan St., Suite 900, Dallas, Texas 75201.

       2.5     Jane/John Doe Walmart employees/managers’ identities are presently unknown.

Once identified, they will be added as defendants and served with process.

                                                    III.



2Defendants’ conduct might also be actionable as disparaging Plaintiffs’ integrity and honor, as
well as per se defamatory in that they accused the Plaintiffs of engaging in a criminal act.



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                                 JURISDICTION AND VENUE

       3.1     This Court has federal question and diversity jurisdiction over the claims in this suit

pursuant to 28 U.S.C. §§ 1331, 1332(a), 1343, and 42 U.S.C. §§ 1981, 1988, and 2000a to a(6).

Also, all or substantially all of the material events giving rise to this suit occurred in the Southern

District of Texas, Houston Division. 28 U.S.C. § 1391(b)(2).

       3.2     Finally, the claims and damages asserted herein are within the Court’s jurisdictional

limits, and all conditions precedent, if any, to bring the claims asserted in this suit have occurred

and/or have been performed.

                                                 IV.

                                         NOTICE FACTS

       4.1     Walmart is a commercial enterprise engaged in interstate and intrastate commerce.

It provides accommodations to the public, including the provision of food, household items, and

other merchandise. Dennis, a 55-year old black man, and his accompanying friend, Terence, a 53-

year old black man, wished to return or exchange a previously purchased television at the Walmart

store from which Dennis had purchased it. As an express condition of the purchase contract,

Walmart agreed to allow items to be returned within a reasonable time period for either an

exchange or refund. However, this contractual right was denied to Plaintiffs when Walmart and its

Jane/John Doe employees knowingly, intentionally and purposefully racially profiled Plaintiffs as

thieves because and would not honor the agreement. The role race played in what happened will

become more apparent when the following facts are considered.

       4.2     When Plaintiffs attempted to return the television, and presented the Walmart




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receipt showing that the merchandise had been purchased, Defendants refused to honor the

contract as they would have with white customers. They accused Plaintiffs of stealing the

television, called the police, had Plaintiffs handcuffed, paraded them in front part of the store, and

held them held in the Loss Prevention Office for hours. After knowing from empirical evidence

that they had wrongly accused Plaintiffs of stealing, having had them detained, and handcuffed,

Defendants demanded Plaintiffs sign a document in order to leave the store and never return.

Walmart further failed to honor the contract with Plaintiffs by refusing to permit or allow them to

return the television for either a refund or exchange. Plaintiffs were not treated as white people

would have been treated, and there is no factual or legal excuse to justify how they were treated

by the Defendants other than their race.

       4.3     The offensive conduct alleged in this case occurred on September 10, 2020. On that

date, Dennis arrived at Walmart, went to the Electronics Department and legally purchased a 58-

inch Hisense television for the total price of $300.94. After paying for the television, he was

handed a Walmart receipt to document proof of purchase. He then left the store with the television.

       4.4     Coincidentally, on the same day, Terence, shopping alone at a totally different time

from when Dennis had been shopping, bought several personal aid products for himself. Terence

had no knowledge that Dennis had shopped at the Walmart earlier in the day. They had not spoken

that day prior to their respective visits to the store. Terence paid for his personal items totaling

$46.64. He also paid a deposit of $48.50 on a layaway item held at the store. For both payments,

Terence was given store receipts. Terence then left the store without incident.

       4.5     Later the same day, Dennis called his friend Terence to ask for assistance with




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unpacking and mounting the television at his home (i.e., mounting, lifting, placing and putting the

large television in place at his house). When they turned on the television, they noticed the sound

of the television was distorted. Repeated attempts at turning the television on and off did not cure

the problem. At that time, Dennis asked Terence to go with him while he returned the television

to Walmart—with the expectation he and Terence would return with a working television which

they both could mount at the house. Terence helped Dennis repack the television in its original

box, along with all instructions and remote, and helped lift the television into Dennis’s vehicle,

and headed to Walmart.

       4.6     Walmart has a widely known agreement to permit customers to return defective

items within a specified time-period for either a refund or exchange. Dennis complied with that

agreement by returning the defective television on the same day it had been purchased.

       4.7     Both Dennis and Terence entered the Walmart store and took the television directly

to the Walmart Customer Service counter. Dennis presented his receipt for the purchase of the

television and was surprised by what happened next. A white male Walmart associate at the

counter, and two other white associates in the Customer Service department, proceeded to examine

Dennis’ receipt and the television. This examination took approximately an hour. Plaintiffs both

questioned the Walmart associates about why the television exchange process was taking so long.

After receiving no answer, Dennis proceeded to ask defendant John Doe, a white male Walmart

Loss Prevention Officer, about the unusual length of time it was taking to complete the exchange.

John Doe also gave no explanation for the delay. Eventually, defendant Jane Doe, a white female

Walmart manager, appeared in the Customer Service Department. After she was informed about




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Dennis’ desire to receive a working television in exchange for the malfunctioning one, she returned

with a new television and placed it to the side of the register in the Customer Services department.

Plaintiffs then proceeded to approach the register, as they believed that Walmart was about to

honor the agreement; however, this expectation was wrong. Defendants refused to provide a

working television. They also refused to refund Dennis’ money. Instead, they had both Plaintiffs—

even Terence who had nothing to do with the purchase of the television and was there only to help

his friend—detained, handcuffed, and escorted around the front of the store by police. This was

not how Walmart typically treats a customers and was contrary to its policy of accepting returns

and exchanges.3 Dennis had fulfilled his obligations under the contract, but Walmart reneged on

doing its part.

         4.8      While Plaintiffs were standing at the Walmart Customer Service department

register, four white police officers approached them from behind and instructed them to put their

hands on their head, ordered them not to move, searched their bodies and emptied their pockets,

and handcuffed them as criminals in plain view of everyone in the vicinity. Even after finding no

stolen items or contraband, the Walmart John Doe employee(s) and police officers detained

Plaintiffs and escorted them to the Walmart Loss Prevention Office. Numerous shoppers observed

these embarrassing acts. Dennis was taken inside the Loss Prevention Office while Terence stood

handcuffed outside the Loss Prevention Office in clear view of other customers. Defendants

dehumanized these men and made them appear to be criminals when they were simply attempting

to follow the terms of the Walmart contract—i.e., customers could return defective merchandise


3   A copy of Walmart’s return policy is attached as Exhibit 3.



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for a refund or exchange.

       4.9     Terence was eventually escorted into the Loss Prevention Office. Plaintiffs

repeatedly asked for an explanation for being detained, searched, handcuffed and embarrassed in

such a demeaning fashion, and also asked why the defective television was not allowed to be

exchanged. As John Doe, the police officers, and Walmart associates came in and out of the Loss

Prevention Office, no one answered their questions. It was at this point Dennis- -a grown 50+ year

old man—began to cry and begged for answers. He was scared and ashamed.

       4.10    Even after Dennis had been crying for up to an hour, Defendants provided no

answers. Eventually, Jane Doe stormed into the Loss Prevention Office and threw Dennis’ receipt

on the table. She then looked at Plaintiffs and screamed, “take this fucking receipt, take that

fucking TV, get the fuck out of this store, and never fucking come back.” Plaintiffs were startled

and completely confused. They questioned her as to why the television was not being exchanged

and why they were being treated the way they were. Jane Doe simply repeated, “take this fucking

receipt, take that fucking TV, get the fuck out of this store, and never fucking come back.” After

that tirade, the police officers began to uncuff Plaintiffs, and Plaintiffs were required to sign a

“Criminal Trespass Warning” before they would be permitted to leave the store.4 Such a document

guarantees that criminal charges would remain on file at Walmart against Plaintiffs should they

try to return—something that they should not have hanging over their heads since they did nothing



4 Plaintiffs only signed the document so they could be free to leave the store. Plaintiffs maintain
this was an attempt by Defendants to try to cover their tracks for the wrongful arrest and
defamatory accusations they leveled against Plaintiffs and the horrendous treatment they put the
Plaintiffs through.



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wrong. Plaintiffs were then permitted to leave the Walmart store in shame with the same

malfunctioning television and Walmart receipt they had entered the store with several hours

earlier.

           4.11    Dennis is a deacon at his church; and a family-oriented man who has never been

arrested or charged with any crime before the incident in question. Terence is the pastor and leader

of a church in Montgomery County, Texas. He, too, is a family-oriented man that constantly pours

back into his community by constantly being a man of selfless service and dedicated community

outreach. The notoriety of what happened to them at the Walmart store has spread among church

members, friends, relatives, co-workers, and others—causing tremendous pain, embarrassment

and mental anguish. Plaintiffs are regularly tormented and awakened from their sleep with

nightmares about what they experienced at the Walmart. Such a belittling event reminded these

50+ year old Black men that some people will always see them as “niggers.” Such treatment hurts

so deeply it is impossible to describe. It is like a cancer that eats at them every moment of the

day—-causing them to try to avoid people they think might be inclined to act the same way toward

them. Such a life is emotionally crippling. All a man has is his good name and these Defendants

stole that from Plaintiffs. Plaintiffs will forever bear the mental and emotional scars Walmart’s

atrocious racism occasioned.

                                                   V.

                  CAUSE OF ACTION – FALSE ARREST AND IMPRISONMENT

           5.1     Each and every allegation contained in the foregoing paragraphs is re-alleged as if

fully rewritten herein.




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       5.2     Defendants engaged in false imprisonment by willfully detaining Plaintiffs without

Plaintiffs’ consent. Defendants had no legal authority or justification to detain Plaintiffs.

                                                 VI.

          CAUSE OF ACTION – BREACH OF CONTRACT AND WARRANTY

       6.1     Each and every allegation contained in the foregoing paragraphs is re-alleged as if

fully rewritten herein.

       6.2     Plaintiffs entered into a valid and enforceable contract and performed their

contractual obligations by paying consideration for the television. Defendants breached said

contract, refused to perform their contractual obligations, and breached Walmart’s express

warranties by denying Plaintiffs’ television exchange for a functioning television, hence leaving

Plaintiffs with a malfunctioning television instead.

       6.3     Defendants further precluded Plaintiffs from enforcing said contract and express

warranties by prohibiting/banning Plaintiffs from being on Walmart’s property.

                                                 VII.

                            CAUSE OF ACTION – 42 U.S.C. § 1981

       7.1     The above allegations are incorporated herein by reference.

       7.2     Defendants intentionally and consciously engaged in the aforementioned conduct

based on the race of Plaintiffs in violation of 42 U.S.C. § 1981.

       7.3     Plaintiffs are (1) members of a racial minority; (2) there was an intent to

discriminate against them on the basis of race by Defendants; and (3) the discrimination concerns




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one or more of the activities enumerated in § 1981 including, but not limited to, the right to make

and enforce contracts on the same basis as white citizens.

       7.4     Walmart is engaged in interstate commerce and provides public accommodations.

It is directly and/or vicariously liable for the acts of its agents and vice principals—the Jane/John

Does—identified in this suit.

                                                VIII.

                          CAUSE OF ACTION – 42 U.S.C. § 2000a to a(6)

       8.1     Each and every allegation contained in the foregoing paragraphs is re-alleged as if

fully rewritten herein.

       8.2      Defendants intentionally and/or consciously engaged in the aforementioned

conduct, practices, policies, and customs in violation of 42 U.S.C. § 2000a to a(6). Alternatively,

the conduct was ratified and/or not corrected by persons having the ability and authority to do so.

       8.3      Plaintiffs are (1) members of a racial minority; (2) there was an intent to

discriminate against them on the basis of race by Defendants; and (3) the discrimination occurred

at a public accommodation—specifically, that Plaintiffs were discriminated against by being

prevented from carrying out business at Walmart as was afforded white customers under the same

or similar circumstances at Walmart.

                                                IX.

                            CAUSE OF ACTION – TEXAS CONSTITUTION

       9.1     Each and every allegation contained in the foregoing paragraphs is re-alleged as if

fully rewritten herein.



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       9.2     Defendants intentionally and/or consciously discriminated against Plaintiffs on the

basis of race and, as such, violated Section 3a of the Texas Constitution. Defendants are liable by

way of their policies and practices, as well as being directly liable for the conduct of Walmart’s

vice-principals for the racial discrimination detailed above.

                                                 X.

                               UNCONSCIONABLE CONDUCT

       10.1    Each and every allegation contained in the foregoing paragraphs is re-alleged as if

fully rewritten herein.

       10.2    Defendants engaged in unconscionable and reprehensible conduct by way of their

actions, policies, and practices; and Walmart is directly or vicariously liable for the unconscionable

conduct of its vice-principals for the racial discrimination detailed above.


                                                 XI.

                            CAUSE OF ACTION – NEGLIGENCE

       11.1    Each and every allegation contained in the foregoing paragraphs is re-alleged as if

fully rewritten herein.

       11.2    Defendants owed a legal duty to Plaintiffs to have reasonable suspicion Plaintiffs

had engaged in a criminal act before calling the police to detain or arrest them, which duty they

breached by calling the police on Plaintiffs to falsely report a stolen television, having Plaintiffs

handcuffed and searched, and parading Plaintiffs through the front of the Walmart store as though

they were thieves. Defendants were negligent in detaining Plaintiffs for hours without cause,

failing to provide reasons for the detention, and showing Plaintiffs off in the store as common



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criminals and thieves—which they are not. Such conduct proximately caused injuries and damages

to Plaintiffs.

                                                XII.

                          CAUSE OF ACTION – NEGLIGENCE PER SE

        12.1     Each and every allegation contained in the foregoing paragraphs is re-alleged as if

fully rewritten herein.

        12.2     Defendants’ negligence constituted per se negligence as they violated Texas Penal

Code § 20.02 by intentionally and knowingly restraining Plaintiffs without legal or just cause

inside the Walmart store. Defendants falsely imprisoned Plaintiffs for the time period when they

could not leave the store and were made to remain in the store without legal or just cause.

        12.3     Defendants violated their duty to exercise ordinary care and obey Texas laws.

                                                XIII.

                          CAUSE OF ACTION – GROSS NEGLIGENCE

        13.1     Each and every allegation contained in the foregoing paragraphs is re-alleged as if

fully rewritten herein.

        13.2     Defendants’ conduct involved an extreme degree of risk, considering the

probability and magnitude of the potential harm to others. Officers could have mistaken the

situation and, as Black men, they could have been shot, injured or permanently disfigured because

of Defendants’ actions. Defendants had subjective awareness of the risk involved, and consciously

and deliberately proceeded with conscious indifference to the rights, safety, or welfare of

Plaintiffs.




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                                                 XIV.

  CAUSE OF ACTION – INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

          14.1   Each and every allegation contained in the foregoing paragraphs is re-alleged as if

fully rewritten herein.

          14.2   Defendants acted intentionally and/or recklessly. Defendants’ conduct toward

Plaintiffs was extreme and outrageous.

          14.3   Defendants’ conduct towards Plaintiffs caused the Plaintiffs severe emotional

distress and mental anguish.

                                                 XV.

                 JURY DEMAND AND REQUEST FOR ATTORNEY’S FEES

          15.1   Plaintiffs demand a jury trial and request attorney’s fees if permitted by law or

equity.

                                                 XVI.

                                              PRAYER

          For the above reasons, Plaintiffs ask that Defendants be cited to appear and answer herein,

and that upon trial on the merits, Plaintiffs be awarded compensatory and punitive damages as

alleged and/or proved at trial, together with attorney’s fees, if allowed, pre-and post-judgment

interest at the maximum lawful rate, costs of court, and such other and further relief, at law or in

equity, to which Plaintiffs may be justly entitled.



                                               Respectfully submitted,




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